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IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS OF ENGLA
COMMERCIAL COURT (QBD) .

| BETWEEN:

VADIM MARATOVICH SHULMAN
Claimant

~and-

HOGAN LOVELLS INTERNATIONAL LLP

Defendant

 

PARTICULARS OF CLAIM

 

THE PARTIES AND OTHER RELEVANT ENTITIES

1. The Claimant, Vadim Maratovich Shulman, was and is an Israeli citizen and businessman,

resident in Monaco, His background is in Ukrainian engineering/mining.

2. The Defendant is a limited liability partnership registered in England and Wales under
registered number OC323639, part of the international legal practice known as “Hogan
Lovells” (“HL”). HL held and holds itself out as highly experienced, legally sophisticated

and as a firm of choice for multi-jurisdictional and CIS-related work.

3. Mr Gennadiy Bogolyubov (“GB”) and Mr Igor Kolomoisky (“Ik”) (the “Intended
Defendants”) were and are billionaire Ukrainian businessmen, who also have Cypriot and
Israeli nationality, and are close business and personal associates. They were and are
controlling members of the Privat (or PrivatBank) Group of Ukraine controlling certain
industries in the Ukraine and elsewhere, particularly in the steel, oil and gas, chemical and
energy sectors. Privat Group included PJSC Commercial Bank PrivatBank (“PrivatBank”)

until its nationalisation.
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4, From 1999 or 2000, the Claimant and the Intended Defenddntwcart etm business together

 

(2) A minority interest in a coke processing plant in Zarinsk, Russia (“Altay-Koks”).

(3) A steel plant in Ohio, United States known as “Warren Steel.”

(4) Management of state-owned the Dnepropetrovsk Metallurgical (““DMK”) Plant.

5. The relationship between the Claimant and the Intended Defendants broke down and thé
Intended Defendants acted dishonestly and fraudulently in respect of the said assets.

6. Until the nationalisation of PrivatBank, GB and IK were controlling shareholders in it and
members of its supervisory board. Upon its nationalisation, PrivatBank allegedly had a
c.US$5.5bn deficit due to a large-scale fraud by GB and IK amongst others. It brought
proceedings against the Intended Defendants amongst others in the English Courts in
December 2017 for alleged losses of c.US$6.2bn. PrivatBank was represented for these
purposes by HL. HL is put to proof of when it first began acting for PrivatBank. :

7. Other claims were brought against the Intended Defendants in the English Courts by:

(1) The Ukrainian billionaire Mr Victor Pinchuk, issued in March 2013 for US$2bn
involving ownership rights in the Kryvorizkyi Iron Ore Factory in the Dniepropetrovsk
region of Ukraine (the “Pinchuk Claims’). It settled shortly before trial in January
2016. HL acted for Mr Pinchuk in these claims and continued to so act after the
settlement including in the implementation of the settlement.

(2) The Russian oil company PJSC Tatneft, issued in March 2016 in the Commercial Court
against the Intended Defendants and others claiming damages in the sum of US$344m
(the “Tatneft Claims”), alleging that the Intended Defendants had taken part in a

fraudulent scheme to divert payments for oil.

8. Mr Pinchuk was represented by HL in the Pinchuk Claims, in particular by Mr Chris —
. Hardman, a HL partner specialising in CIS work. Mr Hardman had a reputation as an
aggressive litigator/strategist. The Claimant met Mr Hardman in March 2015 to provide a

witness statement in support of Mr Pinchuk’s case.

9. At the time when the Pinchuk and Tatneft Claims were issued, IK was resident in

' Switzerland and GB was resident in London. Jurisdiction was not disputed in either case.

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into shares in Evraz Group SA (the “Evraz Deal”).

(2) The Intended Defendants failed to account to the Claimant for partnership property
and/or funds and proceeds, including those owed in respect of the operation and
management of the Ukrainian Assets, Altay-Koks and the DMK Plant and his share of
the proceeds of the sale of the Ukrainian Assets.

(3) The Intended Defendants failed to transfer all of the GDRs due to the Claimant under
the Evraz Deal. : | .

(4) The Intended Defendants had failed to act in good faith and honestly in relation to
Warren Steel, had failed to reimburse the Claimant’s costs and had misappropriated
substantial sums belonging to the Claimant from the Evraz Deal which they had
purported to invest into Warren Steel. The Claimant had no participation in the
management or operation of the plant and had no returns on his investment. The
Claimant sought an account and enquiries (the “Warren Steel Claims”),

(5) The Claimant’s claims against the Intended Defendants were worth c.US$500m.

11. Before embarking on the claims in England, the Claimant, via Bracha (a Liechtenstein
foundation of which the Claimant is sole beneficiary) and Hornbeam Corporation (which
is owned by the Claimant) sought discovery and evidence, under 28 US Code §1782, for

~ use in non-US proceedings inter alia against the Intended Defendants.

12. Further, HL (New York) were retained by the Claimant in about J anuary 2017 and sought
to obtain material relevant to identifying assets belonging to the Intended Defendants, for

the Claimant to deploy in the English litigation against the Intended Defendants.
THE BACKGROUND

13. The Tatneft Claims: On 16 March 2016, Tatneft applied for worldwide freezing relief and
on 22 March 2016, Teare J made a worldwide freezing order (“WFO”) for US$380m (“the
Tatneft WFO”). On 23 March 2016, Tatneft issued its claims.

14, The Retainer by the Claimant of HL: On 23 June 2016, Ms Natalya Luchnikova (“NL”)

 

and Ms Tanya Ferree (“TF”), London-based representatives of the Claimant (the

“Claimant’s Representatives”) met Mr Michael Roberts of HL to discuss their potential
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retainer for the Claimant’s claims against the Intended Defendé

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this as he was away.

15. As Mr Roberts and HL were well aware, NL and TF

16. The Claimant was considering instructing HL (and, in particular, Mr Hardman as lead
partner) because of and in reliance on their purported experience and sophistication in the
type of claims that the Claimant wished to bring against the Intended Defendants. The
Claimant’s Representatives were aware, and so informed HL (as did the Claimant in
October 2016), that there had been and were likely to be various parties chasing the
Intended Defendants’ assets, including Tatneft, and the Claimant was concerned that the
Intended Defendants would dissipate or dispose of assets which could be the subject of |
enforcement. He wanted to be represented by lawyers well versed and experienced in

locating and freezing assets worldwide.

17. One issue discussed at the initial meeting was the fact that, as the Claimant was aware, HL
had acted for Mr Pinchuk in his claims against the Intended Defendants. The Claimant’s
Representatives understood. from their discussions with HL that the Pinchuk Claims had
been settled and that HL were no longer acting for Mr Pinchuk in respect of these matters:

(1) Neither the Claimant’s Representatives nor the Claimant knew that the Pinchuk Claims
settlement was not a clean break between Mr Pinchuk and the Intended Defendants.

(2) Instead, as they discovered later, the settlement involved staged payments over several
years (understood to be c. US$48m per month) plus transfer of prime London real
estate, and HL continued to act for Mr Pinchuk in relation to such settlement.

(3) Mr Pinchuk therefore still had a keen interest in the Intended Defendants’ assets. —

18, On 28 June 2016, Mr Roberts emailed NL and TF: “Yes, I believe we are conflict Jree.” On
1 July 2016 he emailed that subject to inter alia “the terms of the retainer reflecting our
pre-existing role for Victor” (i.e. Pinchuk), HL would be able to act for the Claimant. On 8

July 2016, HL provided an initial fee proposal and credentials document. —

19. On 4 October 2016, HL provided a revised fee proposal stating that they would finalise and
issue the claim form by 23 December 2016 (described as the “Filing Deadline”). This was
the date HL had identified to the Claimant’s Representatives as the realistic date by which

the claim form could and should be issued.
 

~ “You have asked us to advise you in relation to possible claims in England and Wales

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against Igor Kolomoisky and Gennady Bogolyubov in relation to the joint venture in

Warren Steel.”

It also stated: “You are aware that Hogan Lovells previously acted for another party in
proceedings against Messrs Kolomoisky and Mr Bogolyubov [sic]” [emphasis added] and

~ wamed of a possible challenge to their acting by the Intended Defendants. The letter used

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the past tense in describing HL’s retainer for the other party (who the Claimant knew to be
Mr Pinchuk). HL did not disclose that Mr Pinchuk’s settlement remained ongoing and that

HL remained acting for him.

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HL’s “regular Terms of Engagement” were enclosed (the “Terms of Engagement”):
Clause 44 addressed “extent of liability”, stating that “Our liability to you, however arising,
in respect of each matter on which we act for you, extends to the full value of the assets of
[HL] (including insurances), save where a lower limit has been agreed with you.” Clause

47 stated that provisions restricting or excluding the liability of HL “will not apply in the

case of fraud or deliberate misconduct.”

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Pursuant to Clauses 40 and 41 of the Terms of Engagement, it was an express term of the
resulting retainer that HL would not act in a position of conflict, the definition of which
reflected the definition in the SRA Code of Conduct 2011, and would only represent
another client whose interests were adverse to the client’s own should that not give rise to

any conflict of interest under the SRA Code of Conduct 2011.

. The purported Limitation Clause: the Retainer Letter contained a purported limitation of

liability of £5m (the “Limitation Clause”): “To the extent permitted by law, our liability .
(including any liability of our members, employees or consultants including anyone we call
a partner) to you in respect of this matter, whether in contract or tort (including
negligence) or on any other basis, is limited to £5 million. Any exclusion or limitation of

liability does not apply if we commit fraud or deliberate misconduct.” (Emphasis added).

The Limitation Clause applied only to the Warren Steel matter, as the Retainer Letter was
itself limited to that specific matter, which it referred to by name. The Retainer Letter did

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not refer to or take account of the further claims in respe av‘and the Ukrainian

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Clause 51 of the Terms of Engagement provided: “Jn th Aen that we gf
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additional matters, any such additional representation be governed by the

Assets (the “Further Claims”), which were only iden

   

¢ to undertake

Engagement Letter and these Terms of Engagement unless we mutually agree otherwise in
writing.” The Limitation Clause did not apply to the Further Claims as, on a proper
construction of Clauses 44 and 51, the Terms of Engagement require any lower level of
liability to be specifically agreed for any further matter including by separate Engagement
Letter.

If, contrary to the foregoing, the effect of Clause 51 is to apply the Limitation Clause to
any additional claims or matters (including, here, the Further Claims) without the need for
any further specific agreement, this was itself unreasonable for the purposes of the Unfair
Contract Terms Act 1977 (‘UCTA”) in circumstances where:

(1) The Limitation Clause purported to apply regardless of the nature, quantum or likely
value of the Further Claims, which were very substantial and which even on a
conservative assessment multiplied the overall value of the claims significantly.

(2) The Limitation Clause was unreasonably low especially given the overall potential
value of the combined claims (i.e. Warren Steel and the Further Claims) and the scale
of the likely fees that would be charged.

(3) It was unclear and ambiguous, given the terms of the Limitation Clause itself and the
fact that neither the Limitation Clause nor the main body of the Retainer Letter itself
contained any reference to Clause 51, that it would or could apply to additional matters
undertaken by HL rather than only to the matter expressly referred to in the Retainer
Letter.

Alternatively still, the Limitation Clause was unreasonable in itself for the purposes of

UCTA in circumstances where (i) HL were, contrary to the express terms of their retainer,

in a position of conflict; (41) it was unreasonably low, given the value of the likely claims

-against the Intended Defendants in respect of Warren Steel and/or the Further Claims and

the scale of the fees that would likely be charged; and (iii) if it be so alleged by HL, it was

intended to apply to any other additional matters.

If, which is denied, the Limitation Clause is binding for each matter, then it and the £5m

limitation applied to each “matter” and “additional matter”, i.e. each claim to be pursued
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on Claimant’s behalf was a separate matter for these purposes.

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Further still, if, which is denied, the Limitation Clause/i

the Géspects\partitllarised below in

paragraph 90 with the result that the Limitation Clausédoés not apply to’ an

which HL acted for the Claimant. Of JUST \C%

contends that HL committed deliberate misconduct in!

HL’s Misrepresentations: At all material times before the Claimant entered into the
Retainer with HL, HL represented to him that i) their relationship with Mr Pinchuk was
historic, his claims against the Intended Defendants having settled on terms advantageous
to Mr Pinchuk, and that HL had no ongoing role for Mr Pinchuk; and ii) there were no
conflicts of interest that would operate upon the retainer and, by implication, that the
Claimant could. expect undivided loyalty from HL in respect of the retainer and his claims |

against the Intended Defendants.

These statements of fact were untrue, and induced the Claimant to enter into the retainer,

as HL intended him to do.

The 25 October Meeting: On 25 October 2016, the Claimant, NL and TF attended a meeting
at HL’s London offices. Mr Hardman (who was present at the start of the meeting) asked
the Claimant to join him in his office in order to speak in private. Mr Hardman told the

Claimant that he personally had a conflict of interest, as he had acted previously for Mr

Pinchuk in the case against IK. Nevertheless, Mr Hardman said. that he was confident that

he could “do the same’ for the Claimant as he had for Mr Pinchuk (i.e. secure a successful
settlement with the Intended Defendants). Mr Hardman also told the Claimant that he knew

that if he had no involvement then, as was the case, the Claimant would not retain HL.

Mr Hardman told the Claimant that he could not be seen as officially representing him on
paper and had chosen his junior partner, AS, to lead the claims. but that the Claimant should
not worry as he, Mr Hardman, would be running the case behind the scenes. Mr Hardman

told the Claimant: “Do not worry. Alex is me.” °

Thereafter, either Mr Hardman was in truth running the case behind the scenes or Mr

Hardman misled the Claimant in order to secure and retain his instructions and was only

involved when the Claimant’s Representatives sought his input: x

(1) When the Claimant’s Representatives did contact Mr Hardman, there was no
suggestion from him or from anyone else in HL that the former ought not to contact

Mr Hardman or that they ought to contact AS or Mr Roberts instead.

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(2) Rather Mr Hardman gave the strong impression thé

August 2016 the Claimant met with IK. As the Claimant’s Representatives reported to HL
by note provided on 19 October 2016, IK stated that he was aware that the Claimant was
preparing for a claim in London and asked that the Claimant did not sue him there. GB and
IK were close friends and business associates and it could be inferred with a high degree
of certainty that if IK was aware of “a direct claim in London’, then so was GB. HL knew

or should have known that.

The Jurisdiction Issue: The Claimant was advised by HL that he could pursue claims in this
jurisdiction against the Intended Defendants on the basis of GB’s residence in England.
GB’s continuing residence in England was of critical importance to the Claimants ability

to bring claims against the Intended Defendants in the English courts.

HL’s strategy should have been to issue a claim form urgently in order to ground

_ jurisdiction for the claims against both of the Intended Defendants in England pursuant to —

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Article 4(1) of the recast Brussels Regulation (No. 1215/2012) and Article 6(1) of the
Lugano Convention. It would then have been extremely difficult if not impossible for either:

of the Intended Defendants to dispute jurisdiction.

Alternatively, if, contrary to the foregoing, the issue of the claim form was not urgent, at
the very least GB’s Belgrave Square home ought to have been placed under surveillance

before Christmas 2016. The results were highly unlikely to have been reassuring,

The Tatneft Judgment: By judgment dated 8 November 2016, Picken J granted applications _
for summary judgment against Tatneft (including the GB application) on the basis that
Tatneft’s claim had no real prospect of success, and granted applications to set aside the
order permitting service out of the jurisdiction on the basis that there was no serious issue
to be tried. The Tatneft WFO was discharged but such discharge was stayed pending an
application for permission to appeal. The Tatneft WFO was reduced to US$200m with

immediate effect.

By email dated 10 November 2016 to NL, HL’s Ms Hickman reported on the judgment of
Picken J and inaccurately stated that the Tatneft WFO had been discharged.

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the Intended Defendants internationally, which was itself likely to mean that they would

attempt to place their assets beyond reach of enforcement.
The Original Filing Deadline: No claim form was issued by 23 December 2016.

Whilst the Claimant agreed to a deferral of the filing deadline until 1 March 2017, this was
in circumstances where i) the Claimant was not advised by HL to issue a claim form on an
urgent or protective basis for damages, an account and declaratory relief, which claim form
need not be served’ but which would found jurisdiction over a defendant resident in the
jurisdiction; ii) rather, he was advised that HL were not yet ready to issue the claim form.
Further, the Claimant was never advised that the issuing of a claim form (or, at least,
readiness to issue and serve a claim form forthwith) was a prerequisite for a successful

application for a WFO.

The requests that HL apply for a WFO: From the outset of the retainer, HL were aware that

‘there was a critical issue as to the availability and whereabouts, and risk of dissipation, of

the Intended Defendants’ assets against which the Claimant would wish to enforce in due

course.

From October 2016 onwards, the Claimant and his Representatives repeatedly questioned
HL as to why they were not applying for a WFO on behalf of the Claimant. This issue arose
in circumstances where: | .
(1) The Claimant was continuing to pursue discovery, under §1782, in the US for use in
proceedings elsewhere.
(2) The Intended Defendants were and are sophisticated businessmen highly likely to be
| practised and experienced in the disposal and hiding of assets inter alia in secret
offshore trusts and nominee structures: |
(3) There were unlikely to be major obstacles to an application for a freezing order given
that the risk of dissipation threshold had been passed in respect of the Tatneft WFO
and Picken J had so stated in his November 2016 judgment.

(4) There was a clear advantage to the Claimant in obtaining his own WFO,
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The issue of applying for a WFO was raised directly with AS On-w tegccasions:

 

Claimant and/or his Representatives, in particular during meetings on 25 October, 8
~ December 2016 and 26 January 2017, during a call on 1 June 2017 and during meetings
on 8 and 9 August 2017 in Sardinia.

News of GB’s possible relocation to Switzerland: On Thursday 16 February 2017, AS sent

an email to NL advising amongst other things:

“|,, [have heard a rumour that GB may have moved, at least temporarily, to Switzerland
(possibly because of the pressure coming on him and IK as a result of the collapse of

Privat, but also possibly because he realises it leaves him exposed to proceedings in

England).”.

On the same day, 16 February 2017, TF telephoned AS. AS said that he could not disclose
the source of this information in his email but gave the clear impression that it was Mr

Hardman.

On 17 February 2017, NL informed AS in a call at 9:30am that given the rumour of
relocation, the Claimant was extremely concerned about jurisdiction and wished HL to

issue the claim form immediately and that HL were instructed to issue the claim form.

HL did not follow the Claimant’s instructions and did not issue the claim form. Instead, the
Claimant’s Representatives were informed by AS that more time was needed to finalise the |
Particulars of Claim. AS advised that there was no need to be concerned about the rumour

as the Claimant could still rely on GB’s wife and children remaining in London.

No surveillance was carried out on GB’s family residence at 31 Belgrave Square or the
movements of GB personally. HL did nothing to protect the Claimant’s claims or

investigate the truth in the rumour.

. When later applying to challenge jurisdiction, GB relied on the fact that on 20 February

2017 GB and his wife were said to have entered into a separation agreement.

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a flat in Geneva on the same day.

The Claimant and his Representatives were led to understand that the claim form would be
issued by 10 March 2017. By email of 9 March 2017, AS said that before issue of the claim
form junior counsel wanted leading counsel to look at the draft Particulars of Claim. NL
responded by email the same date that the timescale was unacceptable and asking AS to
confirm his availability, and that “Otherwise, I will be getting in touch with Chris
[Hardman]”. A revised filing date of 17 March 2017 was proposed by HL.

The claim form was not issued by 17 March 2017. Instead, counsel turned their attention
to the preparation of an opinion on the merits of the claim, which was provided to the
Claimant’s Representatives on 24 March 2017. Whilst this was sought on the Claimant’s

instructions, the Claimant remained unaware of the urgent need to issue the claim form.

GB later relied on the fact that his wife petitioned for judicial separation on 21 March 2017.

On 23 March 2017, AS emailed the Claimant’s Representatives stating that personal service
on GB was possible and could have “a greater impact on the individual’ and on 24 March
2017, HL’s Ms Hickman advised by email that the claim form could not be finalised until
the Particulars of Claim had been fully settled.

Following a change in the counsel team to J onathan Crow QC and Gregory Denton-Cox,
prompted by a loss of confidence by the Claimant in the existing counsel team, the claim

form was eventually issued in the Chancery Division on 12 May 2017 accompanied by the

- Particulars of Claim. Service was attempted at Belgrave Square and was signed for by a
member of GB’s household staff. |

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In the days immediately before service, HL instructed Diligence to provide surveillance of
31 Belgrave Square and of GB (if he appeared, which he did not). As matters transpired,
GB had already permanently left the jurisdiction or was later able to persuade Barling J that

this was the case.

GB’s application to challenge jurisdiction: On 3 July 2017, GB brought an application

against the Claimant for a declaration that the Court had no jurisdiction to try the underlying

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of the jurisdiction application, stating inter alia that it did not matter that GB had left the

jurisdiction as his wife and children were still residing in London and therefore jurisdiction
would be easily established, and describing the purported divorce between GB and his wife

as a “sham” and “window dressing.”

The Claimant informed TF and AS at this meeting that he understood Tatneft were in
discussions with GB in respect of the amount of security payable in lieu of the WFO and
that he had been told that GB had already prepared a new structure and was ready to move |
his assets into this structure as soon as the Tatneft WFO was withdrawn, so that his assets
could not be seized as a result of any further legal action against him. The Claimant
reiterated his request that HL take steps to protect his position by applying for a WFO
immediately. AS again gave discouraging advice in respect of a WFO and did not suggest

any further steps which might be taken to protect the Claimant.

The Paradise Papers: On about 10 or 11 November 2017, the UK and Ukrainian press
printed reports of the leak of the Paradise Papers, which provided details of the ongoing
dealings between Mr Pinchuk and the Intended Defendants regarding the settlement of their
dispute. The reports concerned the transfer of two prime London properties to Mr Pinchuk
as part of the settlement. HL acted for Mr Pinchuk in relation to such matters. The leak
included emails of 20 January and 2 February 2016 from HL to Appleby referring inter
alia toa conditional settlement whereby the Intended Defendants “will make a series of

staged future payments to Mr Pinchuk over the course of several years’.

Further consideration of a WFO: On 30 November 2017, HL sent an email to NL and TF
revisiting whether to apply for a WFO with junior counsel. The email stated: “Tf the Tatneft
freezing order remains in place then we do not consider that it is necessary to apply for
our own. We would also require evidence that there is a risk of GB dissipating assets in

order for any application that we make to be successful.” HL thereby implied that this
would be difficult.

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66. HL, whilst advising the Claimant against making an application foOLAWwEO, were at the

 

took place on 18/19 December 2017. The application was supported by evidence that GB
had ceased to be domiciled i in England before 12 May 2017.

68. The PrivatBank WFO: PrivatBank applied for a WFO over the Intended Defendants assets.
The application was heard by Nugee J on 19 December 2017 (i.e. the second day of GB’s

application against the Claimant) and an interim WFO was made.

| 69. The inter partes hearing of. Privatbank’s WFO application was held on 19 J anuary 2018:
(1) Privatbank was represented by HL and Stephen Smith QC (the Claimant’s former
- Leading Counsel).

(2) TF attended the hearing with a view to obtaining relevant information about the
Intended Defendants’ assets. |

(3) Stephen Smith QC on instructions from HL applied for the part of the hearing relating
to those assets to be held in private to the exclusion of TF.

(4) PrivatBank obtained a freezing order for US$2.6bn against the Intended Defendants.

(5) TF’s exclusion was contrary to the Claimant’s interests because of the likely relevance

to him of information relating to the assets of the Intended Defendants.

70. On the evening of 19 January:2018, Ms Hickman emailed the Claimant’s Representatives
setting out “a summary of the points dealt with at today’s Privatbank hearing and the
Judgment given at the end of the day.” The email recorded exchanges in respect .of the
membership of a confidentiality club.in respect of the Privatbank WFO; that Privatbank
had argued that “Members of the confidentiality club could represent Shulman and Pinchuk
as well as Privatbank” and that Nugee J ordered that “HL lawyers who work on PrivatBank

__ are not prevented from working on Shulman and Pinchuk.”

71. Neither the Claimant nor his Representatives had been informed previously that HL. were
representing PrivatBank. It is apparent from the terms of Ms Hickman’s 19 January 2018.
email that, unbeknown to the Claimant, some of the same HL individuals had been and
were working on the Pinchuk Claim (or the implementation of the settlement), the

Claimant’s claims and the PrivatBank Claim.

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72. The Judgment of Barling J: By judgment of 2 February 201.8, Bat ifigN' granted GB’s
judgment reflected the fact that GB stated that he had beténnd fesidelitlin Switzerland by 1
March 2017. Barling J found inter alia that:

(1) There was overwhelming evidence that before 5 Ap fiid Ceased to live.at
the Belgrave Square House and was living in Geneva.

(2) There was no issue of GB having left England but not taking up residence in Geneva,

such that he might have become resident elsewhere.

73. The Court of Appeal refused the Claimant permission to appeal on 2 July 2018:

Accordingly, the Claimant’s claims against the Intended Defendants were lost.

74, By the end of 2018, the Intended Defendants were understood by the Claimant to have fled

Switzerland for Israel and thereafter to have gone to Ukraine.
THE NEW US PROCEEDINGS

75. On 23 August 2019, the Claimant and Bracha filed claims in Delaware against multiple
defendants including the Intended Defendants, Mr Korf, Privatbank, Warren Steel and
others, in respect of fraud, unjust enrichment, conversion, breach of fiduciary duty, civil
conspiracy, corruption and other claims including a claim for an account relating to Warren

Steel. The New US Proceedings are at a very early stage and jurisdiction is not established.

THE CONFLICTS OF INTEREST

76. HL acted for the Claimant when there were multiple conflicts of interest:

(1) There was an obvious conflict between the interests of the Claimant and the interests
of Mr Pinchuk: Mr Pinchuk’s interest was in the Intended Defendants continuing to
make the staged payments and/or transfers to him under the terms of their settlement
agreement, and the Claimant’s ‘interest was in the Intended Defendants’ assets
(including the most accessible assets) being frozen and/or available for enforcement
on his behalf in the event that judgment was obtained against them.

(2) There was an obvious conflict of interest between the interests of the Claimant and the
interests of PrivatBank: PrivatBank was also aiming to secure and/or enforce against
the Intended Defendants’ assets and to enforce any judgment or settlement obtained
against the Intended Defendants’ most accessible assets.

(3) There was also an obvious own interest conflict or the significant risk of an own

interest conflict between the interests of the Claimant and HL’s own interests in:

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i. Taking on multiple clients all with high value claims" ag fbe\same Intended
Defendants to maximise HL’s fee generation a
ii. Then favouring and preferring the interests of t
generative claims (PrivatBank rather than the
that:
1. The Claimant was not informed when HL were retained by PrivatBank;
2. A WFO was sought and obtained against the Intended Defendants on behalf of
Privatbank by HL; and © | .
3. TF was excluded from part of the hearing on 19 January 2018.

77. The Claimant was not asked for and had not given his informed consent to any of the
conflicts set out above. In any event, consent could not have cured the conflicts. The
conflicts of interest are relevant to and explain HL’s conduct to late 2017 and thereafter,
including but not limited to HL’s otherwise inexplicable failures, which (as set out below)
themselves constituted deliberate misconduct by HL:

(1) To issue, or advise the Claimant to issue, the Claimant’s claim form;
(2) To seek, or advise the Claimant to seek, a WFO in circumstances where the Claimant
wished to pursue one; and

(3) To follow the Claimant’s instructions in respect of both of these matters.

78. The Claimant will invite the Court to infer, given these matters and the matters set out
below, that from the outset of the retainer HL lacked any genuine commitment to his best

interests and actively preferred the interests of Mr Pinchuk and PrivatBank.
THE SRA CODE OF CONDUCT 2011

79, At all material times, HL were subject to SRA Code of Conduct 2011. Chapter 3 of the
SRA Code of Conduct provided: “Uf there is a conflict, or a significant risk of a conflict,
between two or more current clients, you must not act for all or both of them unless the

matter falls within the scope of the limited exceptions set out at Outcomes 3.6 and 3.7.”

80, The Code defined “client” and also “client conflict” and “own interest conflict” for the -
purposes of Chapter 3. The Code then provided:
“Prohibition on acting in conflict situations
O(3.4) you do not act if there is an own interest conflict or a significant risk of an own
interest conflict; . .
O(3.5) you do not act if there is a client.conflict, or a significant risk of a client conflict,

unless the circumstances set out in Outcomes 3.6 or 3.7 apply ...”

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81. Neither Outcome 3.6 nor 3.7 were applicable (and in ai

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attempt was made by HL to comply with their terms).

   

DUTIES OWED TO THE CLAIMANT BY HL

82. Before the inception of the retainer, between the date of the first meeting on 23 June 2016
and 10 October 2016: |
(1) HL owed a duty to the Claimant as a quasi or prospective client to inform him that they
would be unable to accept the retainer to act for him given their retainer by and ongoing
role for Mr Pinchuk, and to refuse to act. |
(2) This duty is not subject to the terms of the retainer subsequently agreed (including the

Limitation Clause, if, contrary to the above, it is binding on the Claimant).

83. Pursuant to the Retainer Letter and Clause 41 of the Terms of Engagement, it was an

express term that HL would comply with the SRA Code of Conduct 2011.

_ 84. At all material times after the parties entered into the retainer, HL owed an implied
contractual duty to the Claimant to exercise the care, skill and diligence to be expected of
reasonably competent solicitors holding themselves out as a leading global firm with skill,

and expertise in commercial disputes involving the CIS and jurisdictional matters.

85. Such duty extended to exercising reasonable skill and care in:

(1) Advising the Claimant in respect of the prompt issue and service of the claim form and
protecting his claims against the Intended Defendants in the English courts.

(2) Advising the Claimant in respect of jurisdictional matters including the risks and
benefits of various strategies and tactics in litigation of this scale,

(3) Advising the Claimant in respect of the protection of his interests including a freezing
order in the High Court in respect of the assets of the Intended Defendants.

(4) Providing the Claimant with an overall strategy and tactics in respect of high value and
complex’ litigation against the Intended Defendants, which was appropriately
aggressive, commercial and sophisticated, and which took into account the likely
actions of the Intended Defendants: | .

(5) Advising the Claimant as to urgent or immediate ‘steps to protect his interests and
secure the jurisdiction of the English courts such as issuing a claim form by the agreed
date of 23 December 2016, and/or as a matter of urgency thereafter.

(6) Following the Claimant’s instructions.

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(1) To act at all material times in the best interests of thAClaimant ang no? to prefer the
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interest of any other persons. &

(2) Of undivided loyalty.

(3) Not to act and/or to continue to act when in a position of client and/or own interest |
conflict of interest.

(4) To act with integrity and not allow its independence to be compromised.

(5) To act upon the Claimant’s instructions.

(6) To disclose information held by HL (in particular, as a result of HL acting for Mr
Pinchuk and PrivatBank) relevant to the Claimant’s claims (including his aim to seek
a WFO and/or ability to enforce any judgment or settlement) against the Intended
Defendants. . |

(7) To make full and candid disclosure to the Claimant, or to cease to act if events arise

that compromised HL’s ability to follow the Claimant’s instructions.

88. As a result of the matters pleaded above, HL breached their contractual and/or tortious

duties to the Claimant in that:
PARTICULARS OF BREACH OF CONTRACT AND/OR NEGLIGENCE

In the pre-contractual period

(1) HL negligently and in breach of Outcome 3.4 of the SRA Code of Conduct (the

- Claimant being a prospective client) failed to inform the Claimant that they could not

act for him in respect of his intended claims against the Intended Defendants given their
ongoing role for Mr Pinchuk (and PrivatBank if that professional relationship or
retainer had already begun) and the obvious conflicts of interest to which this gave rise.
HL ought to have declined to act for the Claimant.
In respect of the claim form .

(2) HL failed to provide the Claimant with competent advice on the i issue of the claim form
and the inter- -relationship between the date of issue and jurisdiction. In particular, HL
failed to advise the Claimant that, even if the Particulars of Claim were not ready, the
claim form could and should be issued protectively as an urgent procedural step, and if
necessary could be amended following issue but before service without the court’s

| permission and with the court’s permission thereafter. |

(3) HL failed to provide any or any adequate advice in respect of'the CPR and the rules for

issue and service of the claim form, including the ability to issue without service.

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(4) HL seemingly delayed issue-of the claim form on the ‘that issue and

Western Christmas and by the Original Filing Deadline of 23 December 2016.

(6) Alternatively (to the Claimant’s primary case), HL failed to advise the Claimant that if
and insofar as the claim form was not to be issued urgently, they should place 31
Belgrave Square and GB under surveillance to ensure that there was no suspicious

~ behaviour indicative of a permanent relocation abroad. |

(7) HL failed to advise the Claimant that, given the rumour that GB had permanently
relocated to Switzerland, the claim form should be issued forthwith without any further
delay and on 16 February 2017, alternatively on 17 February 2017 at the latest.

(8) HL failed to follow the Claimant’s express instruction on 17 February 2017 to issue the
claim form urgently given the rumour that GB had permanently moved to Switzerland.

(9) HL unnecessarily delayed the issue of the claim form from 23 December 2016 onwards
on an ongoing basis and failed to advise that it should be issued urgently.

_ In respect of a WFO

(10) HL wrongly failed to act on the requests to seek a WFO and instead advised the
Claimant not'to pursue a WFO.

(11) HL wrongly suggested that there would be no advantage init and/or that the
threshold for risk of dissipation could not be met, despite the matters set out above in

. paragraph 46; HL should have advised the Claimant to pursue a WFO.
(12) HL wrongly advised that the Claimant would have to pay up to 20-25% of his
. entire claims by way of security for a cross-undertaking (or, on a later occasion, on 8
or 9 August 2017, over 10%). There was no proper basis for that advice.

‘In respect of conflicts of interest . .

a 3) HL breached an express term of the Retainer Letter by acting for the Claimant

. in circumstances where there were both client conflicts and an own interest conflict as

defined in the SRA Code of Conduct 2011.

(14) HL wrongly acted in a position of both client and own interest conflicts of
interest, arising from Pinchuk and PrivatBank, and in circumstances where:

i, The Claimant was not told that Mr Pinchuk had an ongoing interest in the Intended
Defendants’ assets under the terms of settlement, whereby payments were to be
made over “several years” (according to an email from HL to Appleby of 20 January
2016 disclosed in the Paradise Papers), and that HL continued to act for Mr Pinchuk

in respect thereof.

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‘ti. The Claimant was not told of the PrivatBank retame wiigh\HL acted for a

     

; and/or they
should not have accepted the PrivatBank retai kee his reflects thy own interest
conflict between the Claimant’s own interests and’ idféstin obtaining as

many wealthy and high-profile Ukrainian clients as possible to generate fees.

89. Further, HL breached their fiduciary: duties to the Claimant in that they:
PARTICULARS OF BREACH OF FIDUCIARY DUTY

(1).Acted for the Claimant in circumstances where they had acted for and/or continued to
act for Mr Pinchuk and/or PrivatBank notwithstanding the client conflicts and the own
interest conflict. HL should not have accepted instructions to act for the Claimant.

(2) Continued to act for the Claimant whilst accepting instructions to act on behalf of
PrivatBank, where there was a conflict of interest between the Claimant’s interests and
those of PrivatBank. HL should not have accepted the instructions to act for PrivatBank,
assuming those were received after their retainer with the Claimant. began, or
alternatively (and contrary to the Claimant’s primary position) should at the very least
have terminated their retainer with the Claimant (whilst this would itself have been a
breach of duty, it would have been less egregious than acting for both clients).

(3) Failed to advise the Claimant of the existence of either of the client conflicts of interest
or of the own interest conflict. The Claimant’s awareness that HL had previously acted
for Mr Pinchuk did not and could not amount to disclosure of the existence of the
ongoing conflicts of interest (which could not be cured in any event). .

(4) Failed to disclose information held by HL (in particular that held as a result of HL
acting for Mr Pinchuk and PrivatBank) relevant to the Claimant’s claims (including his
aim of seeking a WFO and/or being able to enforce any judgment or settlement) against
the Intended Defendants.

(5) Given HL’s knowledge of the rules in relation to client and own interest conflicts (as
apparent from the terms of their own retainer), the decisions to act where ‘there were |
clear client conflicts and a clear own interest conflict were deliberate.

(6) Failed to advise and/or warn the Claimant that it was in his best interests to issue the
claim form as a matter of urgency (throughout, by 23 December 2016, but also on 16
and 17 February 2017) and/or to make an application for a WFO.

(7) Given HL’s purported expertise, and that Mr Hardman was involved at the very least
in discussing the Claimant’s claims with AS, and in the absence of a proper and credible

explanation for these failures, the Claimant infers that this was no mere oversight or

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negligent failing, but that HL deliberately preferred their other clients

(Mr Pinchuk and/or PrivatBank) and/or their own interé ant’s.

DELIBERATE MISCONDUCT

(1) The above breaches of fiduciary duty each constitute deliberate misconduct.

(2) There was a deliberate decision by HL, itself constituting deliberate misconduct, not
to act on the Claimant’s instructions to issue, or to protect his interests by issuing, a
claim form protectively. There is no other credible explanation for how a law firm of
HL’s ostensible. calibre could have failed to advise the Claimant that the key date for
jurisdiction purposes was the date of issue and, accordingly, the claim form should be
issued as a matter of the utmost urgency where there was a rumour, which could not
be adequately tested, that GB had left the jurisdiction permanently in order to avoid
further claims in the English Courts.

(3) There was a deliberate decision by HL, itself constituting deliberate misconduct, not
to act on the Claimant’s instructions to seek, but rather to dissuade him from seeking,
a WFO. There is no other credible explanation why AS and his team would have.
resisted this and it is inferred that this was done in order to protect and prefer the
interests of other clients.

(4) This failure was part of an overall pattern, which itself constituted deliberate
misconduct, of failure to promote and protect the Claimant’s interests as part of a
concerted litigation strategy. Rather, it is to be inferred that HL preferred and
prioritised the interests of their other clients, Mr Pinchuk and PrivatBank.

(5) Even if, which is‘denied, there were no deliberate decisions made to actively prefer the
interests of other clients, deliberate decisions were also made’by HL to:

i. Act for multiple fee-generative clients despite the clear conflicts of interest
between them; to enter into those retainers themselves constituted deliberate
misconduct in light of such conflicts and HL’s own interest in fee generation;
and/or .

ii. Neglect or to ignore the interests of the Claimant and an attitude of reckless
indifference was adopted, hence the lack of any urgency or strategic effort in
respect of the issue of the claim form and the question of applying for a WFO;
such indifference itself constituted deliberate misconduct especially in the context

of high-value and highly contested claims..

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BREACH OF CONFIDENCE

91.HL have acted in breach of their obligation to pre
information as apparent from the following facts and ma
(1) The Claimant was not consulted about and did not p'

consent to whatever. information barriers may, or may

    
   
 

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any informed,

avebeen put in place

between his case and those of Mr Pinchuk and PrivatBank; the starting point must be

that, unless special and established measures are taken, information moves within a

large firm.

(2) Further support for this presumption is apparent from the following:

i, The close relationship between the Claimant’s own advisors, HL (and in particular
Mr Hardman) and Jonathan Crow QC, and Mr Pinchuk, who the Claimant saw
together at the Joshua/Klitschko boxing match on 29 April 2017, the day after he

had first met with Mr Crow in conference as his new leading counsel.

a.

This was of particular concern where, as the Claimant knew, there was a

relatively cordial and mutually beneficial relationship between Mr Pinchuk

~. and IK (and insofar as it suited him to do so, Mr Pinchuk could be expected _

to feed any confidential information which he could obtain about the Claimant
to IK). .

The Claimant raised this concern with AS through NL in a telephone call on
1 May 2017. AS told her that he did not think there was anything strange
about these individuals attending the boxing match together as he knew that
they were friends. Upon being pressed to investigate the position further, AS
told NL that he would speak to Mr Hardman and revert to her with further

information, but he did not do so.

ii. The fact of information passing to IK via HL. In early June 2017 solicitors acting

for GB raised concerns about HL having acted for Mr Pinchuk and asking about

- information barriers:

a.

On 6 June 2017, during the course of a call, AS advised the Claimant’ s
Representatives that IK’s solicitors were aware that the Claimant had

instructed Jonathan Crow QC and were raising this as.an-issue (as Mr Crow

’ had previously acted for Mr Pinchuk),

The Claimant’s Representatives immediately asked how IK’s solicitors could
have known that Mr Crow was acting for Mr Shulman (as this was not public
knowledge and was confidential).

AS said he would look into the point but never reported back. It is to be
inferred that this information could only have reached IK through HL or -

through a combination of HL and Mr Pinchuk.
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(as to which HL are put to proof), HL only knew of the availability of such
information as a result of acting for the Claimant.

iv. The fact that, as is apparent from Ms Hickman’s email dated 19 January 2018,
lawyers from HL who worked on the Privatbank matter were also working on the

Claimant’s case as well as Mr Pinchuk’s.
THE CLAIM FOR MISREPRESENTATION

92. As per paragraphs 31 to 32, HL made untrue statements of fact to the Claimant which
induced him to enter into the retainer. As a result of the misrepresentations set out above:
(1) The Claimant committed. himself to a retainer which prejudiced his interests going
forwards, and had the result that his interests were not promoted and his claims were
not protected. In particular, no claim form was issued before GB permanently left the
jurisdiction for Switzerland. |
_ (2) The Claimant was committed to a retainer in circumstances where HL were acting
despite obvious conflicts of interest, a situation which only worsened over time.
(3) Further if, which is denied, the Limitation Clause is binding and effective, then the
terms of the retainer purported to limit HL’s liability to a small fraction of the value of

the Claimant’s claims, namely the sum of £5m.

93. As a result of the said misrepresentations, the Claimant has suffered loss and damage. Had
the Claimant never entered into the contract:
(1) He would have instructed an appropriately experienced alternative law firm in London
who would have pursued his claims properly.
(2) He would have had the opportunity to pursue the highly valuable claims against the
Intended Defendants, would have sought and obtained a WFO and would have secured
a highly valuable judgment and/or settlement, which would have been enforceable
against available assets and/or would have been recovered from the Intended
Defendants without the need for enforcement. The value of such claims. is to be
calculated by reference to the sum of US$500m.
(3) He would not have been subject to the purported Limitation Clause.

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Misrepresentation Act 1967.

CAUSATION AND LOSS IN RESPECT OF ALL OTHER G

 

contract and/or negligence and/or breach of fiduciary duty and/or breach of confidence and

deliberate misconduct, HL have caused the Claimant loss and damage and/or he is entitled

_ to equitable compensation.

96.

Had HL acted competently and properly and/or the Claimant been properly advised in the
pre-contractual period, HL would have informed the Claimant that they were unable to act.
for him and would not have acted for him. The Claimant would have instructed an

appropriately experienced alternative law firm in London to act for him who would have -

_ pursued his claims properly, would have issued the claim form as a matter of urgency and

-, would have sought and obtained a WFO. Alternatively, HL would have given proper

— 97.

98.

disclosure of the conflicts and the Claimant would not have instructed HL to act for him
and would have instructed an appropriately experienced alternative law firm in London to
act for him who, again, would have pursued his claims properly, would have issued the

claim form as a matter of urgency and would have sought and obtained a WFO.

Even if the Limitation Clause is otherwise binding on the Claimant pursuant to the terms
of the Retainer Letter (which is denied), it is not incorporated. into and is not binding in

respect of the parties’ pre-contractual relationship and/or the claim for misrepresentation.

Further, had HL acted competently and properly and/or the Claimant been properly advised
thereafter and during the course of the retainer: ,

(1) HL would not have acted in a position of conflict or in circumstances where the

interests of their clients conflicted and would not have actively preferred the interests

of Mr Pinchuk and/or PrivatBank over those of the Claimant.

- (2) The claim form would have been issued before 23 December 2016, or early in 2017

or, at the very latest, by 17 February 2017 when GB was still domiciled in the UK.

(3) An application for a WFO would have been (successfully) pursued.

(4) The Intended Defendants would not have challenged jurisdiction, alternatively would
have had a very weak position in respect of jurisdiction and even if GB nevertheless

sought to challenge jurisdiction, he would not have prevailed.

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100. Had the Claimant been properly advised: i) he would have had claims in the English

Courts of very substantial value against the Intended Defendants and a WFO in respect of
the Intended Defendants’ assets of similar magnitude, and ii) he would have obtained that

WFO before PrivatBank obtained theirs.

101. The value of the Claimant’s claims against the Intended Defendants was approximately
US$500m plus costs.

102. Given the conduct of the Intended Defendants in respect of the partnership assets, joint
investments and business dealings, in the original proceedings the Claimant claimed
declaratory relief together with all necessary accounts and enquiries in particular but not

exclusively as to profits generated, the Intended Defendants’ dealings with those profits

and other partnership assets, together with orders for payment.

103. These claims were not all capable of exact quantification by their nature pending trial,
but they included: . .
(1) Loss of value of the GDRs ina sum ofc. US$284m plus interest at the agreed rate;
(2) Sums owed in respect of the Ukrainian Assets (including profits generated by those —
assets and sums due from the sale of those assets) in the region of US$180m;
(3).A liability to account in the sums alleged to have been invested in Warren Steel; and

(4) Further claims for accounts and enquiries.

104, The Claimant would have had a formidable prospect of success in his claims against
the Intended Defendants, would have made a substantial recovery of both judgment sums
and his own costs from them, alternatively substantial recovery by way of settlement. He
has accordingly lost a high percentage chance of recovering sums of up to US$500m and .
sums in respect of his costs (alternatively, such percentage chance as the Court may find).

He is entitled to interest at 8%pa from the notional date of judgment or settlement to date.

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106. Furthermore, there was also a total failure of consideratia

disbursements.

107. In light of HL’s deliberate misconduct, HL are unable to rely on their purported

Limitation Clause (even if, which is denied, it was otherwise applicable and enforceable).

108. Further the Claimant claims and is entitled to recover interest pursuant to section 35A
of the Supreme Court Act 1981 on the damages and/or equitable compensation found due

at such rate and for such period as the Court shall think fit.

AND THE CLAIMANT CLAIMS:

Damages as aforesaid or in such other sum as the Court may find; and/or
Equitable compensation; and/or
Such further and other relief as the Court thinks fit;

Interest as aforesaid;

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Costs.

~ BEN HUBBLE QC

LUCY COLTER. ©
STATEMENT OF TRUTH

  
  
 

é that the facts stated in these Particulars of Claim are true.

Dated thi S day of March 2020 and served by Pillsbury Winthrop Shaw Pittman LLP,
Tower 42 Level 21, 25 Old Broad Street, London EC2N 1HQ, solicitors for the Claimant.
